 Case 0:01-cv-02086-DWF-AJB                  Document 345-2           Filed 08/27/2004           Page 1 of 3



Slip Copy                                                                                                   Page 1
2004 WL 1088328 (D.Minn.), 64 Fed. R. Evid. Serv. 553
(Cite as: 2004 WL 1088328 (D.Minn.))


            United States District Court,                  water heater. Defendant Reliant Energy Resources
                  D. Minnesota.                            Corporation d/b/a Reliant Energy Minnegasco
                                                           ("Reliant") was responsible for the natural gas
  Dennis W. FISCHER and Judith Fischer, and                delivery system into the home, including the gas
       Western National Insurance Group,                   meter and regulator.
                   Plaintiffs,
                       v.                                   After Western National's investigators determined
  RHEEM MANUFACTURING COMPANY,                             the probable cause of the fire, Western National hired
Robertshaw Controls Company, and Reliant Energy            a company to demolish the fire scene. More than two
   Resources Corporation. d/b/a Reliant Energy             months later, Western National notified Robertshaw
           Minnegasco, Defendants.                         that its gas control valve was the likely cause of the
                                                           fire. At that time, all that remained of the fire scene
           No. Civ.011739(PAM/RLE).                        was the foundation of the house, the water heater and
                                                           control valve, and some wiring that was above the
                   May 13, 2004.                           water heater. [FN1]

 Bradley L. Doty, Stempel & Assoc, Hopkins, MN,
for Plaintiff.                                                      FN1. Reliant preserved the natural gas
                                                                    service regulator from the fire scene, but
James L. Haigh, Peter G. Van Bergen, Cousineau                      subsequently lost this evidence.
McGuire & Anderson, George W. Flynn, Hal A.
Shillingstad, Flynn Gaskins & Bennett, Minneapolis,
MN, for Defendants.                                         The ma jority of the claims in the lawsuit have been
                                                           settled. The only claims that remain are Western
                                                           National's claims against Robertshaw. In this Motion,
         MEMORANDUM AND ORDER                              Robertshaw seeks to preclude Western National from
                                                           introducing any evidence at trial derived from the fire
MAGNUSON, J.                                               scene, including opinions and testimony from
                                                           Western National's retained experts or from the state
 *1 This matter is before the Court on Defendant           fire marshal. Robertshaw argues that this sanction is
Robertshaw Controls Company's Motion in Limine.            appropriate because Western National did not
This Motion seeks sanctions for spoliation of              preserve the fire scene to allow Robertshaw to
evidence against Plaintiff Western National Insurance      investigate the scene.
Company. For the reasons that follow, the Motion is
granted.                                                    Western National admits that it did not preserve the
                                                           fire scene but contends that its failure to preserve the
BACKGROUND                                                 scene itself did not prejudice Robertshaw. According
                                                           to Western National, it preserved the relevant
 On March 10, 1999, a fire destroyed the home of           evidence from the fire scene: the water heater and the
Plaintiffs Dennis W. Fischer and Judith Fischer.           gas control valve from the water heater. In the event
Plaintiff Western National Insurance Company               the Court determines that sanctions are appropriate,
("Western National") insured the home at the time of       however, Western National asks that the Court only
the fire. Less than a week after the fire, Western         give a negative inference instruction, rather than the
National's investigators determined that the probable      sanction Robertshaw seeks.
cause of the fire was a natural gas water heater
located in the basement of the home. Defendant             DISCUSSION
Rheem      Manufacturing      Company      ("Rheem")
designed, manufactured, and distributed the water           The Court has broad authority to impose sanctions
heater. Defendant Robertshaw Controls Company              for the spoliation of evidence. Patton v. Newmar
("Robertshaw") designed, manufactured, and                 Corp., 538 N.W.2d 116, 119 (Minn.1995). Sanctions
distributed the gas control valve connected to the         for spoliation are not limited to bad-faith destruction


                            Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
 Case 0:01-cv-02086-DWF-AJB                      Document 345-2         Filed 08/27/2004             Page 2 of 3
Slip Copy                                                                                                      Page 2
2004 WL 1088328 (D.Minn.), 64 Fed. R. Evid. Serv. 553
(Cite as: 2004 WL 1088328 (D.Minn.))

of evidence, but are appropriate when the party              the challenge of meeting probative and convincing
destroying the evidence "knew or should have                 firsthand evidence with sketchy, relatively
known" that the evidence was "relevant to imminent           speculative secondhand evidence").
litigation." Dillon v. Nissan Motor Co., 986 F.2d 263,
267 (8th Cir.1993). The Court must examine "the               Because the Court determines that Robertshaw has
nature of the item lost in the context of the claims         been prejudiced by Western National's spoliation of
asserted and the potential for remediation of the            evidence, the Court must consider what sanctions
prejudice" caused to the opposing party. Patton, 538         would constitute an appropriate remedy for that
N.W.2d at 119.                                               prejudice. The Court does not agree with Western
                                                             National that a negative inference instruction is all
 *2 In this case, there is no dispute that Western           that is necessary in this case. Such an instruction is
National knew or should have known that the fire             no substitute for firsthand evidence of the cause of
scene itself was relevant to potential litigation.           the fire. Rather, the Court agrees with Robertshaw
Western National's Director of Special Investigations,       that Western National should be precluded from
Nancy Jacobson, testified that the fire scene is a           relying on evidence obtained from the fire scene,
valuable piece of evidence, (Shillingstad Aff. Ex. B         including its experts' opinions and the opinions of the
at 91 (Jacobson Dep.)), and courts recognize that "a         state Fire Marshal. Although it is a severe sanction, it
fire scene itself is the best evidence of the origin and     is the only sanction that truly levels the playing field
the cause of the fire." Hoffman v. Ford Motor Co.,           in this instance. See Dodd v. Leviton Mfg. Co., No.
587 N.W.2d 66, 71 (Minn.Ct.App.1998). Thus, the              CX-02-1570, 2003 WL 21147151, at *1
Court must examine the prejudice to Robertshaw               (Minn.Ct.App. May 20, 2003) (finding exclusion of
from Western National's failure to preserve the fire         evidence to be appropriate remedy for destruction of
scene and determine whether the prejudice is                 fire scene).
sufficient to warrant the sanctions Robertshaw seeks.
                                                              *3 Certainly, it is not always possible to preserve a
 Western National argues that, in this instance, there       fire scene until every possible tortfeasor has
is no prejudice to Robertshaw from the destruction of        inspected the scene. When a fire destroys a building,
the fire scene. According to Western National,               it is in the insured's interest to demolish the fire scene
Robertshaw need only establish that its control valve        as quickly as possible so that a new building may be
was not defective, and thus Robertshaw's inability to        constructed on the site. In this instance, however, it is
investigate other potential causes of the fire is            clear that Western National knew very shortly after
immaterial. Western National's argument amounts to           the fire that the Robertshaw control valve was a
an argument that half a defense is better than no            likely cause of the fire. In such a situation, it is
defense at all.                                              incumbent on the insurance company to provide
                                                             notice to the potential tortfeasor and to allow that
 Although it may be true that Robertshaw's only              tortfeasor the opportunity to conduct its own
substantive burden is to rebut Western National's            investigation of the fire scene. See Dodd, 2003 WL
claim that the control valve was defective,                  21147151, at *5 (finding that trial court properly
Robertshaw also bears a persuasive burden. One of            gave significant weight to insurer's failure to provide
the elements of a prima facie case of products               notice to potential tortfeasor until months after
liability is that the product at issue caused the injury.    insurer knew that tortfeasor's product was a likely
Gerhard v. Bell Helicopter Textron, 759 F.Supp. 552,         cause of the fire). Western National's failure to give
554 (D.Minn.1991) (Devitt, J.). Because Robertshaw           such notice to Robertshaw prejudiced Robertshaw's
did not have the chance to examine the fire scene,           defense of this matter to such an extent that the only
Robertshaw cannot argue to the jury that something           appropriate sanction is to preclude Western National
other than the water heater caused the fire. The only        from relying on the evidence gleaned from the fire
firsthand evidence the jury will hear as to causation is     scene.
Western National's experts, and of course those
experts all believe that the fire started in the water       CONCLUSION
heater and specifically in the control valve for the
water heater. Robertshaw's inability to rebut the             For the foregoing reasons and based on all the files,
evidence of causation is clearly prejudicial to              records, and proceedings herein, the Court concludes
Robertshaw's defense of this action. See Hoffman,            that the prejudice to Robertshaw from the destruction
587 N.W.2d at 71 (noting that, because of destruction        of the fire scene warrants the exclusion of all
of fire scene, defendant "would be confronted with           evidence gleaned from that fire scene. Accordingly,

                              Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
Case 0:01-cv-02086-DWF-AJB                  Document 345-2          Filed 08/27/2004   Page 3 of 3
Slip Copy                                                                                     Page 3
2004 WL 1088328 (D.Minn.), 64 Fed. R. Evid. Serv. 553
(Cite as: 2004 WL 1088328 (D.Minn.))

IT IS HEREBY ORDERED that Defendant's Motion
in Limine to exclude evidence (Clerk Doc. No. 36) is
GRANTED.

 2004 WL 1088328 (D.Minn.), 64 Fed. R. Evid. Serv.
553

END OF DOCUMENT




                            Copr. © 2004 West. No Claim to Orig. U.S. Govt. Works.
